        Case 4:04-cv-00205-TGN Document 19 Filed 03/19/19 Page 1 of 1




                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 JOHN N. BACH,
                                              Case No. 4:04-cv-00205-TGN
                     Plaintiff,
                                              ORDER
                     v.

 STATE OF IDAHO; BEN YSURA,
 SECRETARY OF STATE; LARRY
 WASDEN, IDAHO ATTORNEY
 GENERAL; SUPREME COURT,
 STATE OF IDAHO; DOES 1-20,

                     Defendants.


      Finding good cause,

      IT IS HEREBY ORDERED that the Clerk is directed to transfer the sum of one

hundred dollars ($100) to the Unclaimed Funds Account.


                                             DATED: March 19, 2019


                                             _________________________
                                             David C. Nye
                                             Chief U.S. District Court Judge




ORDER - 1
